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BUHQ1 540*23 * SENTENCE MONITORING 04-26-2023

PAGE 001 x COMPUTATION DATA m 13:47:24

AS OF 04-26-2023

REGNO..: 38740-079 NAME: AMUSO, VITTORIO

FBI NOws & sustmes ce y OSE TIAB DATE OF BIRTH: 11-04-1934
ARS) ews oa geese oe > BITE /A-DES

DN Dian. sos wana 8 ENGR QUARTERS.....: LO1-009L
DETAINERS........: NO NOTIFICATIONS: NO

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.

THE INMATE IS PROJECTED FOR RELEASE: LIFE

---------------------- CURRENT JUDGMENT/WARRANT NO: 010 ---------------

COURT OF JURISDICTION....... -...: NEW YORK, EASTERN DISTRICT
DOCKET NUMBER... ......022000 «++et CR 90-446(S-1)
JUDGE. ss aa be ie ae A a ae a ae ek et NICKERSON
DATE SENTENCED/PROBATION IMPOSED: 10-09-1992
DATE ‘COMMEPTEDs co masa ws ows edt HbE-O2-b8S2
HOW COMMITTED.......5....2.+e.2.2.2.: US DISTRICT COURT COMMITMENT
PROBATION IMPOSED 3 wewinse ex eoeew ot NO

FELONY ASSESS MISDMNR ASSESS FINES COSTS
NON-COMMITTED.: $2,700.00 500.00 $250,000.00 500.00
RESTITUTION...: PROPERTY: NO SERVICES: NO AMOUNT: $00.00

------------------------- CURRENT OBLIGATION NO: 010 ------------------

OFFENSE CODE....: 545 18:1962 RACKETEER (RICO)
OFF/CHG: 18:1962 RICO, TOTAL OF 54 COUNTS- CONSPIRACY, MURDER, CONSP
TO COMMIT EXTORTION & OBTAIN LABOR PAYOFFS, TAX EVASION

SENTENCE PROCEDURE.............: 3559 SRA SENTENCE
SENTENCE IMPOSED/TIME TO SERVE.: LIFE

TERM OF SUPERVISION. .....6008653 5 YEARS

CLASS OF OFFENSE... 660. ee eeeee et CLASS A FELONY
DATE OF OFFENSE.....-+00+e+02ee0+-2 Q2-13-1992
G0002 MORE PAGES TO FOLLOW . .

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AGE: 88
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BUHO1L 540*23 * SENTENCE MONITORING

04-26-2023

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AS OF 04-26-2023

REGNO..: 38740-079 NAME: AMUSO, VITTORIO

------------------------- CURRENT COMPUTATION NO: 010 --------------------------

COMPUTATION 010 WAS LAST UPDATED ON 06-02-2010 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 06-02-2010 BY DESIG/SENTENCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN
CURRENT COMPUTATION 010: 010 010

DATE COMPUTATION BEGAN..........: 10-09-1992

TOTAL TERM IN EFFECT............: LIFE

TOTAL TERM IN EFFECT CONVERTED..: LIFE

EARLIEST DATE OF OFFENSE...... ont O2-L3H1992

JAIL CREDIT... .. ee ee eee ee ee secre FROM DATE THRU DATE
07-28-1991 10-08-1992

TOTAL PRIOR CREDIT TIME.........: 439

TOTAL INOPERATIVE TIME..........: 0

TOTAL GCT EARNED AND PROJECTED..: 0

TOTAL GGT 'RARNED.. co. accuses eae scene act OU

STATUTORY RELEASE DATE PROJECTED: N/A
ELDERLY OFFENDER TWO THIRDS DATE: N/A

EXPIRATION FULL TERM DATE.......: LIFE

TIME SERVED eye 8 ee. FREE oe eee et 31 YEARS 8 MONTHS 30 DAYS
PROJECTED SATISFACTION DATE.....: N/A

PROJECTED SATISFACTION METHOD...: LIFE

REMARKS.......: 6/1/10:COMP ASSUMED FROM FIELD TO MEET REQUIREMENTS OF DSCC.
$0055 NO PRIOR SENTENCE DATA EXISTS FOR THIS INMATE

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